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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 THOMAS DEXTER JAKES,                                 Case No. 2:24-CV-1608-WSS

        vs.

 DUANE YOUNGBLOOD,
 JOHN DOE 1,
 JOHN DOE 2,
 JOHN DOE 3,                                          DECLARATION OF DERRELLE
 JOHN DOE 4,                                          JANEY IN SUPPORT OF
 JOHN DOE 5,                                          PLAINTIFF’S OPPOSITION TO
 JOHN DOE 6,                                          MOTION TO DISMISS
 JOHN DOE 7,
 JOHN DOE 8,
 JOHN DOE 9, and
 JOHN DOE 10,

                              Defendants.


       DERRELLE JANEY, being duly sworn, states as follows:

       1.      I am an attorney admitted to practice in the State of New York and admitted Pro

Hac Vice in this matter on November 27, 2024, and a Partner at the Janey Law Firm P.C., attorney

for Plaintiff Thomas Dexter Jakes in the above-captioned case. I submit this declaration in support

of Plaintiff’s opposition to defendant’s motion to dismiss.

       2.      In particular, I make this declaration to transmit to this Court the Expert

Declaration of Nicholas G. Himonidis offered by Plaintiff to authenticate the two podcast videos

at issue in this case attached hereto as Exhibit 28 and the authenticated videos as follows:

               a. Exhibit 29: “10.28.24 Larry Reid Live INTERVIEWS Duane Youngblood:

                   ‘The Abused become the Abuser,’”
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               b. Exhibit 30: “11.3.24 – Pt. 2 – Larry Reid INTERVIEWS Duane Youngblood:

                   ‘The Abused became The Abuser.’”




I declare under penalty of perjury that the foregoing is true and correct.



DATED: February 14, 2025


                                                      Respectfully Submitted,

                                                      By: /s/ Derrelle M. Janey
                                                           Derrelle M. Janey
                                                      The Janey Law Firm P.C.
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                                                      New York, NY 10006
                                                      (646) 289-5276
                                                      djaney@thejaneylawfirm.com

                                                      Counsel for Plaintiff Bishop T.D. Jakes




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